                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

THOMAS A. BOWMAN,                      )
Individually and as Next of Kin of     )
LEE W. BOWMAN, Deceased,               )
                                       )
             Plaintiff,                )
                                       )
v.                                     )                    No.:   3:08-CV-37
                                       )                           (VARLAN/GUYTON)
BULKMATIC TRANSPORT COMPANY, INC., )
and the Personal Representative of the )
ESTATE OF JEFFREY W. RICHIE, Deceased. )
                                       )
             Defendants.               )


                             MEMORANDUM AND ORDER

       This civil action is before the Court on Bulkmatic’s Motion for Bifurcated Trial, filed

by defendant Bulkmatic Transport Company, Inc. (“Bulkmatic”) [Doc. 78], in which

defendant Bulkmatic request that the Court bifurcate the trial in this matter into a liability and

the right to recover punitive damages phase, and a separate punitive damages determination

phase. Plaintiff has responded [Doc. 80] that, in light of the authority cited by defendant

Bulkmatic in its motion, plaintiff does not object to the bifurcation.

       In support of their motion, defendant Bulkmatic relies upon the Tennessee Supreme

Court’s ruling in Hodges v. S.C. Toof & Co., 833 S.W.2d 896 (Tenn. 1992). Hodges states:

       In a trial where punitive damages are sought, the court, upon motion of
       defendant, shall bifurcate the trial. During the first phase, the factfinder shall
       determine (1) liability for, and the amount of, compensatory damages and (2)
       liability for punitive damages in accordance with the standards announced
       above. During this phase, evidence of a defendant’s financial affairs, financial
       condition, or net worth is not admissible.


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       If the factfinder finds a defendant liable for punitive damages, the amount of
       such damages shall then be determined in an immediate, separate proceeding.

Id. at 901.

       Plaintiff’s complaint and amended complaint assert a claim for punitive damages [see

Docs. 1, 24]. Accordingly, because this is a case in which punitive damages are sought, the

Court will bifurcate the trial into one phase to determine liability for, and the amount of,

compensatory damages, and liability for punitive damages and, if the jury finds defendant

Bulkmatic liable for punitive damages, an immediate and separate second phase in which the

amount of such punitive damages will be determined.

       The Court finds that Bulkmatic’s Motion for Bifurcated Trial [Doc. 78] is well-taken

and it is hereby GRANTED. The Court will try this case in two phases as discussed herein.

       IT IS SO ORDERED.


                                          s/ Thomas A. Varlan
                                          UNITED STATES DISTRICT JUDGE




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